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                                       EXHIBIT A


                                  INDEX OF EXHIBITS




1.     Copy of State District Court Docket Sheet

2.     Plaintiff’s Original Petition

3.     Citation issued for service to City of Port Isabel, Texas
       by serving Mayor of the City of Isabel Juan Jose JJ Zamora

4.     Citation issued for service to Port Isabel Economic Development Corporation by
       serving its Chairman Calvin Byrd
Details                                                                                      Page 1 of 4
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              Case Information




              2020-DCL-01570               197th District Court   Cordova, Adolfo E,
                                                                  Jr.

              03/23/2020                   Termination            Pending




              Party


                                                                                Ú
              Salinas, Robert                                     Lead Attorney
                                                                  SANCHEZ, MARK
                                                                  ANTHONY
                                                                  Retained




              City of Port Isabel, Texas

              Address
              May Be Served By Serving Its Mayor, Juan Jose
              JJ Zamora
              305 E Maxan Street
              Or Wherever He May Be Found.
              Port Isabel TX 78578




              Port Isabel Economic Development Corporation

              Address
              May Be Served By Serving Its Chairman Calvin
              Byrd
              305 E Maxan Street                                                       EXHIBIT A-1
              Or Wherever He May Be Found.
              Port Isabel TX 78578




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                             4/15/2020
Details                                                                                 Page 2 of 4
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              Events and Hearings


                                                  Ú



                  Plaintiff's Original Petition


                                                      Ú



                  Plaintiff's Original Petition


                                                      Ú



                  Cover Letter


                                      Ú



                  Exhibit 1


                                      Ú



                  Exhibit 2


                                      Ú



                  Exhibit 3


                                      Ú



                  Exhibit 4




                                              Ú



                  In Sheriff's Box S.H.


https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                        4/15/2020
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                   In Sheriff's Box S.H.


                                           Ú



                   As Per Lizette From Law Office, Use Service As It Was Said On
                   Petition Not Cover Letter S.H.


                                    Ú



                03/27/20204:45 PM


                Sheriff's Office


                In Person

                MOORE, RONALD


                In Person


                                    Ú



                03/27/20204:30 PM


                Sheriff's Office


                In Person

                MOORE, RONALD


                In Person


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              Financial


                   Total Financial Assessment                       $579.00
                   Total Payments and Credits                       $579.00


               3/24/2020   Transaction                             $579.00
                           Assessment

               3/24/2020   E-File          Receipt #   Salinas,   ($579.00)
                           Electronic      2020-       Robert
                           Payment         07305




              Documents




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 ELVIRA S. ORTIZ
 Cameron County District Clerk
 By Sofia Herrera Deputy Clerk




                                                                                Exhibit
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                                                                     ELVIRA S. ORTIZ
                                                                     Cameron County District Clerk
                                                                     By Sofia Herrera Deputy Clerk




                                                                                   Exhibit
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                                                                    ELVIRA S. ORTIZ
                                                                    Cameron County District Clerk
                                                                    By Sofia Herrera Deputy Clerk




                                                                                     Exhibit
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  ELVIRA S. ORTIZ
  Cameron County District Clerk
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                                                                               Exhibit
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